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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEANNA BETRAS, )
) Civil Action No. 2:21-cv-00873
Plaintiff, )
)
V. ) Filed Electronically
)
OLI-CAR INC., )
)
Defendant. )
)
)

AFFIDAVIT IN SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF DEFAULT JUDGMENT AGAINST DEFENDANT

Elizabeth Pollock-Avery, being duly sworn says that she is attorney for Plaintiff in the
above-entitled action; that the amount due to Plaintiff from Defendant is $87,401.56, inclusive of
attorneys’ fees and costs; that Defendant is not a minor or incompetent person; that the default of
the Defendant has been entered for failure to appear in the action; that the amount shown is justly
due and owing and that no part thereof has been paid; and that Defendant is not in the military

service of the United States.

Respectfully Submitted,

Udd Ady o_—

Elizabeth Pollock- -Avery

 

Sworn nfo and subscribed before me
Commonwealth of Pennsylvania - Notary Seal

this(“% day o , 2021 Elaine M. McFarland, Notary Public
Lawrence County

My commission expires August 19, 2024
Commission number 1044978
ty Member, Pennsylvania Association of Notaries
Notary Public

 

 

 
